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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.

                        Plaintiff,

                 v.                     Civil Action No. 1:17-cv-11008-MLW

CELLTRION HEALTHCARE CO., LTD.,                  PUBLIC-
CELLTRION, INC., and                         REDACTED VERSION
HOSPIRA, INC.

                        Defendants.



  DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE NO. 11
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I.     INTRODUCTION

       Defendants have proffered Dr. Bert Frohlich as an expert in cell culture media on technical

aspects related to damages issues. Based on the false premise that Defendants are trying to fill gaps

in their noninfringement and invalidity defenses, Janssen seeks to preclude dozens of paragraphs

of Dr. Frohlich’s opinions, arguing that they are actually liability opinions. Janssen’s motion fails

on every possible front: there are no gaps Defendants are trying to fill, Dr. Frohlich’s opinions

directly relate to damages issues, and Janssen’s description of the law of non-infringing

alternatives is completely wrong. Like most of Janssen’s motions in limine, this one is an

inappropriate effort to set up a trial posture where its positions and its experts do not have to face

the intense scrutiny that their theories and opinions deserve.

       Here, Janssen seeks to hide conflicts between factual positions it has taken on damages and

non-infringing alternatives on the one hand, and infringement and invalidity on the other. Cf.

Defendants’ Response to Janssen MIL No. 13. For example, Janssen’s experts have promoted one

set of testing measurements as the standard way of determining scientific equivalence for

infringement, while criticizing the same set of measurements as insufficient to assess the

substitutability of the accused media for non-infringing alternatives. The Court should deny

Janssen’s motion because “[i]t is the proper role of rebuttal experts to critique plaintiff[’s]

expert[s’] methodologies and point out potential flaws in the plaintiff’s experts’ reports.” Aviva

Sports v. Fingerhut Direct Mktg., Inc., 829 F. Supp. 2d 802, 834–35 (D. Minn. 2011).

       First, Janssen mischaracterizes Dr. Glacken’s opinions to imply that, because Dr. Glacken

will not opine affirmatively that there are substantial differences, everyone agrees the differences

are insubstantial. For example, Janssen states that Dr. Wurm’s testing “demonstrated that the literal

differences between the accused media and the claim did not have a substantial effect on the

performance of the accused media. Dr. Glacken did not disagree.” Memo at 7. This is not the first


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time Janssen has implied as much, but it is false--and Janssen knows it. See, e.g., No. 15-cv-10698,

Dkt. 343 at 4-5 (falsely stating that Dr. Glacken “did not opine in [his] expert report about

insubstantiality of the differences”). Janssen bears the burden of proving infringement, Janssen’s

experts opine that testing is necessary to know if the differences are substantial or insubstantial,

Dkt. 177, 1/30/3018 Hr. Tr. at 101:4-13, and Defendants vigorously dispute whether Dr. Wurm’s

tests had the ability to determine equivalents. As Dr. Glacken opines, Janssen’s testing was both

rigged and fatally flawed, and as a result Janssen cannot prove the differences are insubstantial.

Dkt. No. 178, 1/31/2018 Hr. Tr. at 70-71. Likewise, Janssen argues Dr. Glacken “did not opine

that the claimed invention would have been obvious over the prior art.” Memo at 2. Also false. Dr.

Glacken expressly opined that “the asserted claims are invalid because they would have been

obvious to a person of ordinary skill in the art…” E.g., Dkt. 221-4, Glacken Invalidity Op. ¶¶ 21,

62, 202, 206, 232-233, 242, 256 and pages 102, 122, 134. There are no “manifest deficiencies” in

Dr. Glacken’s opinions that Dr. Frohlich needs to “compensate” for. Memo at 2.

          Second, all of the opinions Janssen asserts have no relevance to damages are, in reality,

directly relevant to damages. For example, Janssen says that “technical advantages” of the claimed

invention “goes to the issues of obviousness – not non-infringing alternatives.” Memo at 6. But,

the Federal Circuit has stated otherwise, holding that an “acceptable” non-infringing alternative

must include the “advantages of the patented product” to the extent customers want those

advantages. Standard Havens Prod., Inc. v. Gencor Indus., Inc., 953 F.2d 1360, 1373 (Fed. Cir.

1991).1

          As another example, while Janssen says “whether or not components of cell media were

known” in the prior art “is of no consequence” to damages issues, Dr. Frohlich’s opinions



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    All emphasis added unless otherwise noted.


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regarding the state of cell culture media technology generally supports Defendants’ damages

expert, Dr. Leonard. Dr. Leonard considered Dr. Frohlich’s opinion in connection with his analysis

regarding lost profits and in calculating a reasonable royalty under Georgia-Pacific. E.g., Georgia-

Pac. Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970); Janssen MIL Ex. 3,

Leonard Rep. ¶¶ 93, 97, 101, 116 (non-infringing alternatives), 153, 160, 162-163, 166, 247

(reasonable royalty).2 Rule 703 expressly “allows experts to rely upon the opinions of other experts

to form their own conclusions.” U.S. v. Zolot, 968 F. Supp. 2d 411, 426 (D. Mass. 2013).

          Janssen also cannot prevent Dr. Frohlich from rebutting its own experts’ arguments. For

example, Janssen argues that Dr. Frohlich is providing an improper infringement opinion because

he criticizes Dr. Butler and Dr. Wurm for not “test[ing] any aspects of antibody quality.” But Dr.

Frohlich’s opinions are directly in response to Dr. Butler’s damages report,



                                                                                       E.g., Dkt. 244

Ex. 9, Butler Damages Op. ¶ 73. In contrast, Dr. Butler placed no importance on product quality

in opining that the accused products infringe by the doctrine of equivalents. See Dkt. 177, 1/30/18

Hr. Tr. at 147:20-148:8; Janssen MIL Ex. 12, Frohlich Rep ¶¶ 179, 290. Dr. Frohlich’s critiques

of Dr. Butler (and Wurm) are entirely proper given his role as Defendants’ rebuttal expert. See

Aviva Sports, 829 F. Supp. 2d at 834–35. Janssen’s characterization of these as “disguised liability

opinions” reveals a fundamental misunderstanding of the law of non-infringing alternatives and

patent damages more generally, including what is or is not relevant to those inquiries.

          Janssen’s arguments that “damages” experts should be limited to damages issues as

pretense for excluding their opinions rings hollow. Janssen itself has admitted that it intends to put



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    References to Janssen MIL exhibits are to the exhibits contained in Dkt. 265.


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up Richard Lit—whom they offered up only the damages phase, ostensibly as a regulatory expert

in relation to non-infringing alternatives—on liability issues related to the alleged infringement of

the accused media under 35 U.S.C. § 271(f).3 Dkt. 300 at 1. Janssen cannot claim some inequity

from Defendants’ damages experts providing opinions that bear some connection to invalidity or

infringement when they have done the same.

II.    DR. FROHLICH’S OPINIONS ARE RELEVANT TO DAMAGES

       Janssen has broken its motion up into several sub-parts. Defendants address each in turn.

       A.      Opinions “That the Accused Media Do Not Infringe”

       Dr. Frohlich has not been asked to opine on whether the accused media do or do not

infringe. Rather, the legal framework for damages assumes that the accused media infringes

(otherwise damages would never be reached). In the footnote Janssen crop-quotes, Dr. Frohlich

said “[w]hile I do not believe Janssen has shown the accused products infringe, I have been asked

to consider noninfringing alternatives should the accused products be found to infringe.”

Janssen MIL Ex. 12, Frohlich Rep. ¶ 23 n.3 (bold/italics added to show portion deleted by Janssen).

In other words, Dr. Frohlich made clear that he was asked to assume infringement, not that he

personally believed it. Had he not said this, it seems safe to say that Janssen would have attempted

the same game it did with Dr. Glacken, and argued that Dr. Frohlich agrees that the accused media

infringes. Janssen’s motion is moot on this point, and Janssen similarly should not be permitted to

imply that Dr. Frohlich believes there is infringement.




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 Dr. Frohlich’s expert report provides a response to Mr. Lit’s damages opinions related to 271(f).
Janssen MIL Ex. 12, Frohlich Rep. ¶¶ 235-242. If Mr. Lit is permitted offer his opinions in the
context of liability, then Dr. Frohlich should be permitted to do the same.


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       B.      Opinions “About The Scope of the Prior Art or the Inventiveness of the ’083
               Patent”

       Dr. Frohlich opines that (1) there are no “technical advantages to [the ’083 patent

embodiment] MET 1.5 or the media composition of claim 1 of the ’083 patent over other cell

culture media compositions that existed in 2004”, (2) that the ’083 patent recites “standard media

components that were well known and commonly used in cell culture media compositions,” and

(3) that “[o]ptimization of a process for biologic manufacturing is routine.” Janssen MIL Ex. 12,

Frohlich Rep. ¶¶ 44, 185. Janssen argues these opinions, and 19 paragraphs from Dr. Frohlich’s

report, should be excluded because “[w]hether or not the components of the claimed invention

were ‘well-known’ or provided a ‘technical advantage’ goes to issues of obviousness – not non-

infringing alternatives.” Memo at 6. Janssen fundamentally misunderstands the law of

noninfringing alternatives, and ignores other damages issues to which this is also relevant.

       First, Janssen’s argument that Dr. Frohlich’s opinions are not relevant to the acceptability

of non-infringing alternatives is flat wrong. Whether a non-infringing alternative is “acceptable”

is determined, in part, by whether it has the “advantages of the patented product” (if the

“customer… wants those advantages”). Standard Havens Prod., Inc. v. Gencor Indus., Inc., 953

F.2d 1360, 1373 (Fed. Cir. 1991). Said another way, “the dispositive question as ‘whether there is

economically significant demand for a product having all ... attributes [of the claim in suit],’ i.e.,

whether consumers demand every claimed feature.” Grain Processing Corp. v. Am. Maize-Prod.

Co., 185 F.3d 1341, 1348 (Fed. Cir. 1999). Dr. Frohlich therefore properly considered what

advantages there are, if any, of the patented invention in view of the prior art and the field of cell

culture media more generally. He found none.

       Likewise, Panduit expressly recognized that comparisons to the prior art are relevant to the

acceptability of non-infringing alternatives:



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        Proof of the absence of noninfringing substitutes: (I)nvolves some of the same
        evidence as that which was introduced in support of the validity of the patent.…
        [A]lthough the patent may have embodied some trifling improvement which was
        patentable to a narrow extent, such improvement did not create any preference
        for the patented product rather than a noninfringing substitute.

Panduit Corp. v. Stahlin Bros. Fibre Works, 575 F.2d 1152, 1162 (6th Cir. 1978). That the proofs

for noninfringing substitutes “involve[d] some of the same evidence as that which was introduced

in support of validity,” did not result in exclusion there, nor should it here. Id.

        In fact, courts evaluating noninfringing alternatives frequently consider whether the

claimed invention has “unique advantages” that the market demands, just as Dr. Frohlich did. For

example, in Grain Processing, the Federal Circuit explained that “[b]ecause consumers find the

‘waxy’ and ‘descriptive ratio’ elements of claim 12 ‘irrelevant,’ the prospect of an available,

acceptable noninfringing substitute expands because a competitor may be able to drop or replace

the ‘irrelevant’ elements from its product.” Grain Processing, 185 F.3d at 1354. Likewise, the

Court in Slimfold Manufacturing considered whether “buyers of bi-fold metal doors specifically

want a door having the advantages of the Ford patent.” Slimfold Mfg. Co. v. Kinkead Indus., Inc.,

932 F.2d 1453, 1458 (Fed. Cir. 1991). Here, Dr. Frohlich’s opinion that the claimed media has no

“unique” advantages to consider is directly relevant to the acceptability of the available non-

infringing alternatives.

        Second, Dr. Frohlich’s opinions as to what techniques were known in the art at the time of

first alleged infringement go to availability of the non-infringing alternatives. In assessing whether

a non-infringing alternative was “available” to the accused infringer, courts consider whether the

accused infringer had “the know-how” to switch to the alternative. Grain Processing, 185 F.3d at

1354. Moreover, “[i]n determining whether the alternative product is available, the court may

consider whether… the non-infringing alternative was well known in the field at the time of




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infringement.” Apple Inc. v. Samsung Elecs. Co., No. 11-CV-01846-LHK, 2016 WL 524904, at

*8 (N.D. Cal. Feb. 10, 2016).

       Here, Dr. Frohlich opined that the techniques of cell culture media optimization “for

biologic manufacturing is routine and has been performed since prior to 2004.” Janssen MIL Ex.

12, Frohlich Rep. ¶¶ 185, 222. That supports Dr. Frohlich’s opinion that, if needed, “it would have

been relatively easy for Celltrion to optimize its infliximab production process to use CD

Hybridoma to meet certain productivity and antibody product quality goals through routine

efforts.” E.g., Janssen MIL Ex. 12, Frohlich Rep. ¶ 181. That these techniques were known even

before the ’083 patent is further evidence that they were well-ingrained and available to the

Defendants in switching to any alternative media.

       Third, Dr. Frohlich’s opinions as to the state of the prior art go to the available alternatives

being non-infringing. If an alternative is prior art or merely practicing the prior art, it is non-

infringing (or the patent would be invalid if Janssen argued otherwise). Under Janssen’s indefinite

and all-encompassing infringement theories (on liability and with respect to non-infringing

alternatives), Janssen has effectively argued any cell culture media that works—despite differing

concentrations (e.g. the accused media) and missing ingredients (e.g. Dkt. 297 at 4)—somehow

infringes. Given Janssen’s disregard for the metes and bounds of the claimed invention, defendants

ability to point to the prior art nature of the alternatives, here, is particularly important because

several such prior art alternatives (e.g., CD Hybridoma, CD CHO, the media disclosed in the GSK

reference) have formulas that are extremely close to the claimed media. Even to the extent Janssen

concedes that these alternatives are non-infringing (see Memo at 9), they cannot simply sweep

their prior art status under the rug while proceeding to put forth expansive infringement theories.




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Contradictions between Janssen’s damages theories, infringement theories, and invalidity theories

are fair game.

        Fourth, both parties’ experts used the Georgia-Pacific factors to evaluate the reasonable

royalty. Factor 9 expressly considers “[t]he utility and advantages of the patent property over the

old modes or devices, if any, that had been used for working out similar results.” Georgia-Pac.

Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970), modified sub nom.

Georgia-Pac. Corp. v. U.S. Plywood-Champion Papers, Inc., 446 F.2d 295 (2d Cir. 1971). Dr.

Frohlich’s opinion that the claimed media (including the MET 1.5 embodiment) have no such

utility or advantages over the prior art, Janssen MIL Ex. 12, Frohlich Rep. ¶ 44, is therefore directly

on point. And Dr. Leonard relied on Dr. Frohlich’s opinions when analyzing Georgia-Pacific

factor 9 for purposes of calculating a reasonable royalty. Ex. Janssen MIL Ex. 3, Leonard Rep. ¶

153; see also ¶ 74.

        C.       Opinions “About Ferric Ammonium Citrate”

        Janssen has repeatedly argued during this case that ferric ammonium citrate (FAC) “was

not commonly used in cell culture media” and is a “fingerprint” for infringement. Memo at 6; Dkt.

306 Ex. 34, 2/24/17 Hr. Tr. at 69:3-5.4 This implies that FAC provided an advantage to the patented

media over prior media formulations. In direct response to Janssen’s and its experts’ positions, Dr.

Frohlich opines that the iron source claimed in the patented media, ferric ammonium citrate, is not

“unique in cell culture media” and there are no “unique advantages” to it. E.g., Janssen MIL Ex.

12, Frohlich Rep. ¶¶ 45, 265. He also opines, based on contemporaneous literature, that there are


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  Janssen previously told this Court that “[p]rior to the ’083 patent, no published cell media formula
included ferric ammonium citrate” (15-10698 Dkt. 418 at 14). That representation was just wrong.
Not only was ferric ammonium citrate used by Celltrion’s supplier years earlier, it had been
published in the prior art literature cited on the face of the ’083 Patent as “preferred” for cell culture
media. Dkt. 306 at 20. Unsurprisingly, Janssen now tries to backtrack and claim it was somehow
“uncommon.” Unsupported and ultimately false statements like this should be rejected.

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other iron sources that are “equally as effective, or more effective, than ferric ammonium citrate.”

Id. ¶ 46. Janssen claims this should all be excluded because it is solely a “liability position.” Memo

at 6.

        But it is clearly not. As explained above, a proper analysis of the acceptability of non-

infringing alternatives considers whether the alternatives have the advantages of the patented

invention, to the extent the market demands them. Supra B. Dr. Frohlich’s opinion that FAC

provides no such advantage supports his opinion that it would not be a required ingredient for an

alternative to be considered acceptable. Thus, Dr. Frohlich proposes that one possible

noninfringing alternative media would involve modifying the accused media to omit FAC. Janssen

MIL Ex. 12, Frohlich Rep. ¶ 261. This alternative media would be acceptable despite the lack of

FAC because “there are no unique benefits to ferric ammonium citrate that would have prevented

it from being replaced with another iron complex, such as the ferric fructose stock solution in

GSK.” Id. at ¶ 265.

        Janssen’s argument has nothing to do with alleged “unfair prejudice.” Janssen wants to tout

the alleged “unique[ness]” of FAC for infringement and validity purposes, and also to foster the

notion that FAC provides an “advantage” to the ’083 patented media over the prior art, but then

prevent Defendants from rebutting that implication. There is no justification for Janssen’s motion.

        D.     Opinions “Relating to Dr. Wurm’s Laboratory Testing”

        Janssen mischaracterizes Dr. Frohlich’s opinion, claiming that he “directly criticizes Dr.

Wurm’s testing” relating to infringement under the doctrine of equivalents “without identifying

any purported connection to damages.” Memo at 7. This is not true. Dr. Frohlich’s discussion of

Dr. Wurm’s testing—of both the similarities and deficiencies as compared to his own testing—

directly bolsters his opinions on non-infringing alternatives. Dr. Frohlich’s ability to bolster his

opinions in this way are all the more important because Dr. Butler has criticized Dr. Frohlich’s


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testing, despite having endorsed the same (indeed, less reliable) testing from Dr. Wurm. Thus,

Janssen’s motion on this point should be denied for several reasons.

       First, the similarities between Dr. Wurm’s and Dr. Frohlich’s testing are relevant because

they confirm the reliability of Dr. Frohlich’s experiments. Dr. Frohlich measured the growth,

productivity, and titer of the non-infringing alternative media against the accused media, which

are the exact same measurements that Dr. Wurm used to test equivalence for infringement. Janssen

MIL Ex. 12, Frohlich Rep. ¶¶ 116, 119. Thus, Janssen and its experts have already endorsed Dr.

Frohlich’s methodology.

       Janssen tries to argue the similarities are irrelevant because the doctrines of equivalents

and non-infringing alternatives are different. This is a red herring. During the Daubert hearing to

exclude Dr. Wurm’s tests, Dr. Butler explained that—outside of any litigation context—looking

at growth, productivity, and titer are how scientists measure equivalents in the real world:

       [I]n scientific terms, if you wanted to choose a particular media, you would test
       media formulations that might be totally different and test them in the same way
       that Dr. Wurm's experiments were conducted. And if they performed in the same
       way and had the same cell growth and antibody production, you would say that
       those media were equivalent.

1/30/18 Hr. Tr. at 148:1-6.

       Second, the differences between Dr. Frohlich’s testing and Dr. Wurm’s testing are relevant

because they also bolster Dr. Frohlich’s opinion. Not only did Dr. Frohlich consider the same

measurements as Dr. Wurm, but he took it several steps further to ensure the reliability of his

testing. For example, unlike Dr. Wurm, Dr. Frohlich’s tests actually used and tested for the

production of infliximab. Id. at ¶ 291.

       Third, and perhaps most importantly, Dr. Frohlich is entitled to discuss the similarities and

differences between his and Dr. Wurm’s testing in rebuttal. Dr. Butler has directly criticized Dr.




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Frohlich’s testing. E.g., Dkt. 244 Ex. 1, Butler Damages Reply ¶¶ 31, 36. Dr. Frohlich should be

permitted to defend his methodology and point out the different positions Dr. Butler has taken

about what scientists do in the real world. This itself provides yet another reason why the case

should not be bifurcated as Janssen suggests: Janssen wants to argue scientists in the real world

look at growth, productivity, and titer for equivalence (when it comes time for arguing

infringement), and that scientists in the real world do not look to growth, productivity, and titer to

determine equivalents (when it comes time for arguing alternatives). Defendants are entitled to

challenge that inconsistency through their own expert. Aviva, 829 F. Supp. 2d at 834–35.

       It is irrelevant that infringement and non-infringing alternatives are different issues: the

jury is going to know that two experts did testing and will inevitably be comparing the

methodologies to evaluate their credibility. To that end, Defendants should be entitled to present

evidence showing the reliability of Dr. Frohlich’s testing for purposes of non-infringing

alternatives. Indeed, it is highly relevant to both Dr. Butler’s arguments and credibility that he

endorsed and relied upon Dr. Wurm’s testing, but criticized a more robust set of tests from Dr.

Frohlich.

       E.      Opinions “Challeng[ing] Dr. Butler’s Infringement Opinions”

       To support his opinion that acceptable alternative media were commercially available at

the time of first alleged infringement, Dr. Frohlich tested two such media, CD Hybridoma and CD

CHO, alongside the accused media. E.g., Janssen MIL Ex. 12, Frohlich Rep. ¶ 116. “The goal of

this testing was to determine whether… CD Hybridoma and CD CHO… would have been

acceptable cell culture media for producing infliximab.” Id. Janssen claims this testing is somehow

a criticism of Dr. Butler’s infringement opinion because Celltrion also tested one of these media,

CD Hybridoma, back in 2008, so there would “seem to be no purpose to this new testing” other

than to “challenge Dr. Butler’s infringement opinions.” Memo at 8-9. This makes no sense.


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       First, Dr. Frohlich’s testing of CD Hybridoma is not made redundant simply because

Celltrion also tested CD Hybridoma in 2008. Celltrion tested CD Hybridoma before the final

specification for the accused media had been determined, so there is no data from 2008 comparing

CD Hybridoma to the accused media as it exists today. See Janssen Ex. 12, Frohlich Rep. ¶¶ 104,

109. Moreover, it is appropriate for Defendants to have Dr. Frohlich test CD Hybridoma using the

methodology that Janssen’s experts used, in order to remove opportunities for baseless criticism.

In any event, even if Dr. Frohlich’s testing of CD Hybridoma were considered redundant (it is

not), it is unclear how that makes it a criticism of Dr. Butler’s infringement opinions, or grounds

for exclusion.

       Second, if Janssen is simply arguing that Dr. Frohlich should not be permitted to compare

the testing he performed for non-infringing alternatives to the testing Dr. Butler endorsed for

infringement, that is untenable. As explained above, Dr. Frohlich is entitled to demonstrate the

reliability and adequacy of his own testing on non-infringing alternatives, including to point out

similarities with testing endorsed by Janssen, and any additional facts indicative of reliability.

Supra D; see Aviva, 829 F. Supp. 2d at 834–35. Moreover, Dr. Butler has expressly criticized Dr.

Frohlich’s testing. E.g., Dkt. 244 Ex. 1, Butler Damages Reply ¶¶ 31, 36. If Dr. Butler is permitted

to do that, Dr. Frohlich must be permitted to respond to avoid any unfair prejudice.

       F.        Opinions Comparing “CD Hybridoma and CD CHO… With the Patent
                 Claim”

       Janssen argues that Dr. Frohlich should not be permitted to compare two alternative

media—CD Hybridoma and CD CHO—to the media claimed in the ’083 patent because “Janssen

had already conceded these two alternatives do not infringe” and are “in the prior art.” Memo at

10. Again, Janssen’s argument that this is a backdoor invalidity opinion misses the mark.




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       The similarities between a proffered alternatives and the claimed invention go directly to

the acceptability of those alternatives. As Grain Processing has explained, “[i]mportant factors”

to consider for acceptability “may include… similarity of physical and functional attributes of the

patentee's product to alleged competing products.” Grain Processing Corp., 185 F.3d at 1355. This

includes consideration of the demand for the “claimed feature[s].” Id. at 1349. Dr. Frohlich thus

compared the alternatives to the patented invention opined that “CD Hybridoma’s similarity to

MET 1.5 and the formulation of claim 1 of the ’083 patent… supports a conclusion that CD

Hybridoma is and was an acceptable non-infringing alternative to the accused media.” Janssen

MIL Ex. 12, Frohlich Rep. ¶ 166.5 Importantly, Janssen disputes that CD Hybridoma is an

acceptable alternative, and plans to put Dr. Butler up in support of that argument. See, e.g., Dkt.

246; Dkt. 244 Ex. 1, Butler Damages Reply ¶ 21. Dr. Butler did not perform any tests for his non-

infringing alternatives analysis. It cannot be the case that Janssen’s expert gets to opine that CD

Hybridoma is not acceptable, while Defendants’ expert is precluded from presenting counter-

evidence, including testing from Dr. Frohlich himself.

       Moreover, the similarities are an indicator that “to the extent the accused media have better

performance than CD Hybridoma… it is due to the unclaimed ingredients in the accused media.”

Janssen MIL Ex. 12, Frohlich Rep. ¶ 168. This not only confirmed Dr. Frohlich’s opinion that the

patented media has no unique advantages that would be required in the alternative media, but also

suggested that, to the extent any improvement in performance were needed before Celltrion could




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use CD Hybridoma for producing infliximab biosimilar, those unclaimed ingredients (such as

“protein hydrolysate”) could be added to CD Hybridoma “in much the same way” to “improve

media performance.” Id. ¶ 186.

       Given the clear probative value of Dr. Frohlich’s opinions on the issue of non-infringing

alternatives, Janssen’s motion should be denied.

       G.      Opinions “Regarding… Modifications to the Accused Media”

       Dr. Frohlich has opined that, to the extent the accused media infringe (as is assumed for

purposes of lost-profit analysis), the accused media could have been modified in several different

ways to avoid infringement. One of these alternatives is the subject of Defendants’ co-pending

motion for summary judgment that there were available and acceptable non-infringing alternatives.

Dkt. 238. Janssen argues that Dr. Frohlich should not be permitted to provide opinions to the jury

that these alternatives do not infringe, because those opinions “are improper attempts to argue

validity and infringement” and because they rely on the doctrines of ensnarement and vitiation,

which are questions of law, not fact. Memo at 11-12.6 Janssen’s request should be denied.

       Dr. Frohlich does not provide any “validity” or “infringement” opinions on liability. Thus,

for example, he does not analyze the question of infringement of the accused media. Instead, he

analyzes whether certain alternative media would be available, acceptable non-infringing

alternatives. Of course, part of establishing this is that the proposed alternatives are not infringing.

Datascope Corp. v. SMEC, Inc., 879 F.2d 820, 825 (Fed. Cir. 1989). Dr. Frolich applies

straightforward vitiation and ensnarement concepts in non-controversial ways to demonstrate that




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  Janssen also incorrectly argues that these alternatives are “speculative” and “theoretical.” Memo
at 11, 12. However, Janssen has filed a separate motion, MIL No. 12, based on those contentions.
Memo at 13-18. Defendants respond to those arguments in its opposition to MIL 12, rather than in
this opposition.


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certain proposed alternatives are noninfringing. E.g., Janssen MIL Ex. 12, Frohlich Rep. ¶¶ 271-

272.

       For example, Dr. Frohlich opines that Defendants could have modified the accused media

to practice the prior art Glaxo Smith Kline (“GSK”) media. Because the accused media are so

similar to the GSK media, these changes would have been “simple,” requiring “no further

optimization work” for use in the manufacture of Inflectra®. E.g., Janssen MIL Ex. 12, Frohlich

Rep. ¶ 116. And, because GSK is prior art, it cannot infringe, either literally or under the doctrine

of equivalents. Id. at 11-12. This is a straightforward principle that will not confuse the jury.

       As another example, Dr. Frohlich opined that another alternative would be to remove

certain ingredients (e.g., magnesium chloride) from the accused media and increase alternative

claimed ingredients (e.g., magnesium sulfate) that supply the same active component

(magnesium). E.g., id. at ¶ 272. He opined that this alternative would not infringe, either literally

or under the doctrine of equivalents. Id. Indeed, as explained in Defendants’ co-pending motion

for summary judgment on non-infringing alternatives, this alternative would not infringe under the

doctrine of equivalents as a matter of law based on the rule against vitiation. Dkt. 238; see also

Defendants’ co-filed Reply to Dkt. 238.

       There is no legitimate dispute that these alternatives are non-infringing, and Janssen has

offered no evidence to the contrary. Rather, Janssen argues juries can’t consider legitimate

alternatives that are non-infringing due (at least in part) to vitiation. Memo at 12. But the jury

should be able to consider any proposed noninfringing alternative, regardless of why it does not

infringe. Janssen cites no case to the contrary. Janssen asks for a perverse result: if an alternative

would be non-infringing as a matter of law, the jury cannot consider it as an alternative.




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       Key here, on non-infringing alternatives, Janssen bears the burden of showing

infringement, including as to the modified media alternatives. Datascope Corp. v. SMEC, Inc., 879

F.2d 820, 825 (Fed. Cir. 1989). Janssen cannot argue that Defendants’ proposed alternatives

infringe the ’083 patent, on which it bears the burden, while simultaneously preventing Dr.

Frohlich from opining that they do not infringe. Moreover, Janssen cannot reasonably believe that

Dr. Frohlich’s non-infringement opinions will be confusing to the jury, because he offers no

infringement opinions related to the accused GE HyClone media. Janssen MIL Ex. 19 (Frohlich

Tr.) at 8:15-9:5.

III.   CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court deny Janssen’s

motion in limine to exclude testimony from Dr. Frohlich related to liability.




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Dated: June 4, 2018                Respectfully submitted,

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                                   and Hospira, Inc.

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                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on June 4,

2018.

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